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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Dixie Plumbing Specialties, Inc.
                                                  Plaintiff,
v.                                                              Case No.: 1:19−cv−05821
                                                                Honorable John J. Tharp Jr.
Fieldwork Chicago−Schaumburg, Inc., et al.
                                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 18, 2022:


        MINUTE entry before the Honorable Sunil R. Harjani: Status hearing set for
7/19/2022 is stricken and reset to 10/11/2022 at 9:15 a.m. by telephone. By 10/6/2022, the
parties shall file a joint status report with an update on the results of the private mediation.
The Court has reviewed the latest Joint Status Report [83] which confirms that the parties
have a mediation set with Judge Holderman on 9/29/2022. Members of the public and
media will be able to call in to listen to this hearing but will be placed on mute. The
call−in number is (888) 684−8852 and the access code is 7354516. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Mailed notice(lxs, )




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